     Case 1:24-cv-00312-SE-TSM               Document 32       Filed 12/09/24      Page 1 of 2




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW HAMPSHIRE

COALITION FOR OPEN DEMOCRACY,
et al.,

     Plaintiffs,

     v.                                                    Case No. 1:24-cv-00312-SE-TSM

DAVID M. SCANLAN, in his official capacity
as New Hampshire Secretary of State, et al.,

     Defendants.


                DEFENDANTS’ ASSENTED-TO MOTION TO SET DEADLINE
                      TO FILE THEIR RESPONSIVE PLEADING

          NOW COME Defendants New Hampshire Secretary of State David M. Scanlan and New

Hampshire Attorney General John Formella (collectively, the “Defendants”), by and through

their counsel, the Office of the Attorney General, and submit this Assented-To Motion to Set

Deadline to File Their Responsive Pleading, and state as follows:

          1.      On October 7, 2024, Defendants waived service of summons in this case. ECF

Nos. 7 & 8. Defendants’ responsive pleading was due on or before December 2, 2024.

          2.      The parties negotiated in good faith to schedule a later responsive pleading

deadline.

          3.      The parties have agreed that Defendants must file their responsive pleading on or

before January 16, 2025.

          4.      As part of that agreement, and as will be memorialized in a later-filed Discovery

Plan, the parties have further agreed:

               a. Trial may be scheduled in mid-January of 2026;

               b. The parties will submit a Discovery Plan on December 20, 2025;
     Case 1:24-cv-00312-SE-TSM              Document 32       Filed 12/09/24    Page 2 of 2




            c. Written discovery will open on January 16, 2025; and

            d. Depositions may begin upon the earlier of (i) court’s ruling on motions to dismiss

               (if any) or (ii) July 1, 2025.

       5.      Plaintiffs have assented to this Motion.

       WHEREFORE, Defendants respectfully request that this Honorable Court:

       A.      Grant Defendants’ Assented-To Motion to Set Deadline to File Their Responsive
               Pleading;
       B.      Order Defendants to file their responsive pleading on or before January 16, 2025;
               and
       C.      Grant such further relief as is just and equitable.

                                                 Respectfully submitted,
                                                 DEFENDANTS DAVID M. SCANLAN and
                                                 JOHN FORMELLA
                                                 By their attorneys,
                                                 JOHN M. FORMELLA
                                                 ATTORNEY GENERAL

       Date: December 9, 2024                     /s/ Michael P. DeGrandis
                                                 Michael P. DeGrandis, N.H. Bar No. 277332
                                                 Assistant Attorney General
                                                 Office of the Attorney General, Civil Bureau
                                                 1 Granite Place South
                                                 Concord, NH 03301
                                                 (603) 271-3650
                                                 michael.p.degrandis@doj.nh.gov


                                      CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was served on all parties of record through
the Court’s e-filing system.


                                                /s/ Michael P. DeGrandis
                                                Michael P. DeGrandis


                                                  2
